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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

Starboard Group of Space Coast, LLC                    Case No. 6:23-bk-04789-TPG
Starboard Group of Southeast Florida, LLC              Case No. 6:23-bk-04791-TPG
Starboard Group of Tampa, LLC                          Case No. 6:23-bk-04790-TPG
Starboard Group of Tampa II, LLC                       Case No. 6:23-bk-04793-TPG
Starboard Group of Alabama, LLC                        Case No. 6:23-bk-04792-TPG
Starboard with Cheese, LLC                             Case No. 6:23-bk-04796-TPG
7 S&M Foods, LLC                                       Case No. 6:23-bk-04798-TPG
9 S&M Foods, LLC                                       Case No. 6:23-bk-04800-TPG
10 S&M Foods, LLC                                      Case No. 6:23-bk-04802-TPG
SBG Burger Opco, LLC;                                  Case No. 6:23-bk-04797-TPG (Lead Case)
                                                       Chapter 11 – Jointly Administered
      Debtors.                                         (proposed)
_________________________________/

                DEBTORS’ EMERGENCY APPLICATION FOR ENTRY
              OF AN ORDER (A) AUTHORIZING THE RETENTION AND
           APPOINTMENT OF STRETTO, INC. AS CLAIMS, NOTICING, AND
            SOLICITATION AGENT AND (B) GRANTING RELATED RELIEF
         SBG Burger Opco, LLC (“SBG Burger”); Starboard Group of Space Coast, LLC (“SBG

Space Coast”); Starboard Group of Southeast Florida, LLC (“SBG Southeast”); Starboard Group

of Tampa, LLC (“SBG Tampa”); Starboard Group of Tampa II, LLC (“SBG Tampa II”);

Starboard Group of Alabama, LLC (“SBG Alabama”); Starboard with Cheese, LLC (“SBG

Cheese”); 7 S&M Foods, LLC (“7SMF”); 9 S&M Foods, LLC (“9SMF”) and 10 S&M Foods,

LLC (“10SMF”) (collectively, the “Debtors”), by counsel and pursuant to Sections 327, 330 and

331 of the Bankruptcy Code, hereby file this Application to Employ Stretto, Inc. (“Stretto”)

(“Application”): 1




1
    Capitalized terms used but not immediately defined have the meanings given to them elsewhere in this
    Application or in the First Day Declaration, as applicable.
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                                          Relief Requested

       1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit C (the “Order”): (a) authorizing the Debtors to retain and appoint Stretto as claims,

noticing, and solicitation agent (the “Claims and Noticing Agent”) in the Debtors’ chapter 11

cases; and (b) granting related relief.

       2.      Specifically, the Debtors request entry of an order authorizing the Debtors to retain

and appoint the Claims and Noticing Agent to provide, among other tasks: preparation of schedules

of assets and liabilities, statement of financial affairs, search of (i) national, (ii) state and local

public records, (iii) land records, (iv) judgment records, (v) UCC, (vi) judgment lien, (vii) secretary

of state for all relevant jurisdictions, legal noticing, maintenance of claims registers and

reconciliation, creditor mailing matrices, an electronic platform for filing claims and supporting

documents, claim noticing, claim responses, plan solicitation and balloting, disbursements, crisis

communications, claims analysis and reconciliation, contract review and analysis, case research,

depository management, treasury services, confidential online workspaces or data rooms,

(publication to which shall not violate the confidentiality provisions of this Agreement), and any

other services agreed upon by the parties or otherwise required by applicable law, governmental

regulations, or court rules or orders (the “Stretto Services”).

       3.      In support of this Application, the Debtors submit the Declaration of Sheryl

Betance, Managing Director, Corporate Restructuring of Stretto, in Support of Debtors’

Application for Entry of an Order (A) Authorizing the Retention and Appointment of Stretto as

Claims, Noticing, and Solicitation Agent and (B) Granting Related Relief (the “Betance

Declaration”), attached hereto as Exhibit A.




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                                     Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the Middle District of Florida

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant to rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a

final order by the Court in connection with this Application to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The bases for the relief requested herein are 28 U.S.C. § 156(c), sections 105(a),

327, 328(a), and 1107 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532

(the “Bankruptcy Code”), and Bankruptcy Rules 2002(f), 2014(a), 2016, and 6003.

                                            Background

       7.      On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. A detailed description surrounding the facts and

circumstances of these chapter 11 cases is set forth in the Declaration of Andrew Levy in Support

of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed in

support of this Application and incorporated by reference herein. The Debtors are operating their

business and managing their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Concurrently with the filing of this Application, the Debtors filed

a motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b).




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                                          Basis for Relief

       8.      The Debtors request entry of the order (a) authorizing the retention and appointment

of Stretto as the Claims and Noticing Agent for the Debtors and their chapter 11 cases, to, among

other tasks, provide the Stretto Services, pursuant to the provisions of the engagement agreement,

attached hereto as Exhibit B (the “Engagement Agreement”) and (b) granting related relief. The

Debtors’ selection of Stretto to act as the Claims and Noticing Agent is appropriate under the

circumstances and in the best interest of the estates. Moreover, the Debtors submit that, based on

all engagement proposals obtained and reviewed, Stretto’s rates are competitive and reasonable

given Stretto’s quality of services and expertise. The terms of Stretto’s retention are set forth in

the Engagement Agreement.

       9.      Although the Debtors have not yet filed their schedules of assets and liabilities and

statements of financial affairs (collectively, the “Schedules”), they anticipate that thousands of

parties will need to be noticed. In view of the number of anticipated notice parties and the

complexity of the Debtors’ businesses, the Debtors submit that the appointment of a claims and

noticing agent will provide the most effective and efficient means of, and relieve the Debtors

and/or the Office of the Clerk of the Bankruptcy Court (the “Clerk”) of the administrative burden

of, noticing, administering claims, and soliciting and tabulating votes and is in the best interests of

both the Debtors’ estates and their creditors.

                                      Stretto’s Qualifications

       10.     Stretto is a chapter 11 administrator comprised of leading industry professionals

with significant experience in both the legal and administrative aspects of large, complex chapter

11 cases. Stretto’s professionals have experience in noticing, claims administration, solicitation,

balloting, and facilitating other administrative aspects of chapter 11 cases and experience in

matters of this size and complexity. Stretto’s professionals have acted as official claims and


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noticing agent in many large bankruptcy cases in this district and in other districts nationwide.

Stretto has developed efficient and cost-effective methods to handle the voluminous mailings

associated with the noticing and claims processing portions of chapter 11 cases to ensure the

efficient, orderly and fair treatment of creditors, equity security holders, and all parties in interest.

Stretto’s active and former cases include: In re Stein Mart Inc., Case No. 20-02387 (JAF) (Bankr.

M.D. Fla. Aug. 14, 2020); In re Off Lease Only LLC, Case No. 23-11388 (CTG) (Bankr. D. Del.

Sept. 15, 2023); In re Windsor Terrace Healthcare, LLC, Case No. 23-11200 (VSK) (Bankr. C.D.

Cal. Sept. 15, 2023); In re Benitago Inc., Case No. 23-11394 (SHL) (Bankr. S.D.N.Y. Sept. 12,

2023); In re Soft Surroundings Holdings, LLC, Case No. 23-90769 (CML) (Bankr. S.D. Tex. Sept.

11, 2023); In re Sunland Med. Found., Case No. 23-8000 (MVL) (Bankr. N.D. Tex. Aug. 31,

2023); In re Nashville Senior Care, LLC, Case No. 23-02924 (MFH) (Bankr. M.D. Tenn. Aug. 16,

2023); In re Vantage Travel Serv., Inc., Case No. 23-11060 (JEB) (Bankr. D. Mass. July 27, 2023);

In re Whittaker, Clark & Daniels, Inc., Case No. 23-13575 (MBK) (Bankr. D.N.J. May 8, 2023);

and In re Allied Healthcare Prods., Inc., Case No. 23-41607 (BCW) (Bankr. E.D. Mo. June 30,

2023). 2

                                            Services to be Provided

           11.     This Application pertains to the work to be performed by Stretto under

section 327(a) of the Bankruptcy Code and under the Clerk’s delegation of duties permitted by

28 U.S.C. § 156(c). Under the Engagement Agreement, Stretto will perform the following services

(collectively, the “Stretto Services, as the Claims and Noticing Agent, at the request of the Debtors

or the Clerk, which include in greater detail the following:

                   (a)     Legal Noticing.


2
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Application.
    Copies of these cited orders are available upon request to the Debtors’ proposed counsel.


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        (b)    Assist the Debtors with the preparation and distribution of all
               required notices and documents in accordance with the Bankruptcy
               Code and the Bankruptcy Rules in the form and manner directed by
               the Debtors and/or the Court, including: (i) notice of the
               commencement of these chapter 11 cases and the initial meeting of
               creditors under Bankruptcy Code section 341(a); (ii) notice of any
               claims bar date; (iii) notice of any proposed sale of the Debtor’s
               assets; (iv) notices of objections to claims and objections to transfers
               of claims; (v) notices of any hearings on a disclosure statement and
               confirmation of any plan or plans of reorganization, including under
               Bankruptcy Rule 3017(d); (vi) notice of the effective date of any
               plan; and (vii) all other notices, orders, pleadings, publications and
               other documents as the Debtors, Court, or Clerk may deem
               necessary or appropriate for an orderly administration of these
               chapter 11 cases;

        (c)    for all notices, motions, orders or other pleadings or documents
               served, prepare and file or cause to be filed with the Clerk an
               affidavit or certificate of service on an as-needed basis: (i) either a
               copy of the notice served or the docket number(s) and title(s) of the
               pleading(s) served; (ii) a list of persons to whom it was mailed (in
               alphabetical order) with their addresses; (iii) the manner of service;
               and (iv) the date served;

        (d)    monitor the Court’s docket for all notices of appearance, address
               changes, and claims-related pleadings and orders filed and make
               necessary notations on and/or changes to the claims register and any
               service or mailing lists, including to identify and eliminate
               duplicative names and addresses from such lists;

        (e)    identify and correct any incomplete or incorrect addresses in any
               mailing or service lists (to the extent such information is available);

  (f)   Schedules. Prepare and maintain an official copy of the Debtors’ Schedules,
        listing the Debtors’ known creditors and the amounts owed thereto, which
        includes a search of national and state records to assist in the foregoing;

  (g)   Claims Register.

        (i)    Maintain (i) a list of all potential creditors, equity holders and other
               parties-in-interest and (ii) a “core” mailing list consisting of all
               parties described in Bankruptcy Rule 2002(i), (j), and (k) and those
               parties that have filed a notice of appearance pursuant to Bankruptcy
               Rule 9010, and update and make said lists available upon request by
               a party-in-interest or the Clerk; and




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        (ii)    to the extent applicable, furnish a notice to all potential creditors of
                the last date for filing proofs of claim and a form for filing a proof
                of claim, after such notice and form are approved by the Court,
                notify said potential creditors of the existence, amount and
                classification of their respective claims as set forth in the Schedules,
                which may be effected by inclusion of such information (or the lack
                thereof, in cases where the Schedules indicate no debt due to the
                subject party) on a customized proof of claim form provided to
                potential creditors; and

        (iii)   provide an electronic interface for filing proofs of claim;

        (iv)    maintain a post office box or address for receiving claims and
                returned mail, and process all mail received;

        (j)     receive and process all proofs of claim, including those received by
                the Clerk, check said processing for accuracy and maintain the
                original proofs of claim in a secure area;

        (k)     maintain the official claims register for each Debtor (collectively,
                the “Claims Registers”) on behalf of the Clerk; upon the Clerk’s
                request, provide the Clerk with certified, duplicate unofficial Claims
                Registers; and specify in the Claims Registers the following
                information for each claim docketed: (i) the claim number assigned;
                (ii) the date received; (iii) the name and address of the claimant and
                agent, if applicable, who filed the claim; (iv) address for payment,
                if different from the notice address; (v) the amount asserted; (vi) the
                asserted classification(s) of the claim (e.g., secured, unsecured,
                priority, etc.); (vii) the applicable Debtor; and (viii) any disposition
                of the claim;

        (l)     provide public access to the Claims Registers, including complete
                proofs of claim with attachments, if any, without charge;

        (m)     record all transfers of claims and provide any notices of such
                transfers as required by Bankruptcy Rule 3001(e);

        (n)     implement reasonable security measures designed to ensure the
                completeness and integrity of the Claims Registers and the
                safekeeping of any proofs of claim; and

        (o)     relocate, by messenger or overnight delivery, all of the court-filed
                proofs of claim to the offices of Stretto not less than weekly;

  (p)   Assist in the dissemination of information to the public and respond to
        requests for administrative information regarding these chapter 11 cases as
        directed by the Debtors or the Court, including through the use of a case
        website and/or call center;


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  (q)    provide docket updates via email to parties who subscribe for such service
         on the Debtors’ case website;

  (r)    comply with applicable federal, state, municipal, and local statutes,
         ordinances, rules, regulations, orders, and other requirements in connection
         with the Services rendered pursuant to the Engagement Agreement;

  (s)    if these chapter 11 cases are converted to cases under chapter 7 of the
         Bankruptcy Code, contact the Clerk within 3 days of notice to Stretto of
         entry of the order converting the cases;

  (t)    30 days prior to the close of these chapter 11 cases, to the extent practicable,
         request that the Debtors submit to the Court a proposed order dismissing
         Stretto as claims, noticing, and solicitation agent and terminating its
         services in such capacity upon completion of its duties and responsibilities
         and upon the closing of these chapter 11 cases;

  (u)    within 7 days of notice to Stretto of entry of an order closing these chapter
         11 cases, provide to the Court the final version of the Claims Registers as
         of the date immediately before the close of the cases;

  (v)    at the close of these chapter 11 cases: (i) box and transport all original
         documents, in proper format, as provided by the Clerk, to (A) the
         Philadelphia Federal Records Center, 14700 Townsend Road, Philadelphia,
         PA 19154, or (B) any other location requested by the Clerk; and (ii) docket
         a completed SF-135 Form indicating the accession and location numbers of
         the archived claims;

  (w)    assist the Debtors with, among other things, plan-solicitation services
         including: (i) balloting; (ii) distribution of applicable solicitation materials;
         (iii) tabulation and calculation of votes; (iv) determining with respect to
         each ballot cast, its timeliness and its compliance with the Bankruptcy Code,
         Bankruptcy Rules, and procedures ordered by this Court; (v) preparing an
         official ballot certification and testifying, if necessary, in support of the
         ballot tabulation results; and (vi) in connection with the foregoing services,
         process requests for documents from parties in interest, including, if
         applicable, brokerage firms, bank back-offices and institutional holders;

  (x)    if requested, assist with the preparation of the Debtors’ Schedules and
         gather data in conjunction therewith;

  (y)    provide a confidential data room, if requested;

  (z)    coordinate publication of certain notices in periodicals and other media;

  (aa)   manage and coordinate any distributions pursuant to a chapter 11 plan; and




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               (bb)    provide such other claims, noticing, processing, solicitation, balloting,
                       Claims analysis, contract review and analysis, case research, depository
                       management, treasury services, and other administrative services described
                       in the Engagement Agreement, that may be requested from time to time by
                       the Debtors, the Court, or the Clerk.

                                   Professional Compensation

       12.     The Debtors respectfully request that the undisputed fees and expenses incurred by

Stretto in the performance of the above Services be treated as administrative expenses of the

Debtors’ chapter 11 estates pursuant to 28 U.S.C. § 156(c) and section 503(b)(1)(A) of the

Bankruptcy Code and be paid in the ordinary course of business pursuant to the Engagement

Agreement without further application to or order of the Court.

       13.     Stretto agrees to maintain records of all services showing dates, categories of

services, fees charged, and expenses incurred, and to serve, no less frequently than monthly,

invoices on the Debtors, the Office of the United States Trustee, counsel for the Debtors, counsel

for any official committee monitoring the expenses of the Debtors and any party in interest who

specifically requests service of the monthly invoices. If any dispute arises relating to the

Engagement Agreement or monthly invoices, the parties shall meet and confer in an attempt to

resolve the dispute. If resolution is not achieved, the parties may seek resolution of the matter

from this Court.

       14.     Prior to the Petition Date, the Debtors provided Stretto an advance in the amount

of $20,000. Stretto seeks to first apply the advance to all prepetition invoices, and thereafter, to

have the advance replenished to the original advance amount, and thereafter, to hold the advance

under the Engagement Agreement during these chapter 11 cases as security for the payment of

fees and expenses incurred under the Engagement Agreement.

       15.     In addition, under the terms of the Engagement Agreement, the Debtors have

agreed to indemnify and hold harmless Stretto and its members, directors, officers, employees,


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representatives, affiliates, consultants, subcontractors, and agents (collectively, the “Indemnified

Parties”) from and against any and all losses, claims, damages, judgments, liabilities, and

expenses, whether direct or indirect (including, without limitation, counsel fees and expenses)

(collectively, “Losses”) resulting from the actions attributable or representations made by the

Debtors but arising out of, or related to Stretto’s performance hereunder. Without limiting the

generality of the foregoing, Losses include any liabilities resulting from claims by any third parties

against any Indemnified Party for actions attributable or representations made by the Debtors.

       16.      The Debtors believe that such an indemnification obligation is customary,

reasonable, and necessary to retain the services of a Claims and Noticing Agent in these chapter

11 cases.

                                         Disinterestedness

       17.      Stretto has reviewed its electronic database to determine whether it has any

relationships with the creditors and parties in interest provided by the Debtors, and, to the best of

the Debtors’ knowledge, information, and belief, and except as disclosed in the Betance

Declaration, Stretto has represented that it neither holds nor represents any interest materially

adverse to the Debtors’ estates in connection with any matter on which it would be employed.

       18.      To the best of the Debtors’ knowledge, Stretto is a “disinterested person” as that

term is defined in section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the

Bankruptcy Code, as Stretto represents in the Betance Declaration, among other things, that:

                (a)    Stretto is not a creditor of the Debtors;

                (b)    Stretto will not consider itself employed by the United States government
                       and shall not seek any compensation from the United States government in
                       its capacity as the Claims and Noticing Agent in these chapter 11 cases;

                (c)    By accepting employment in these chapter 11 cases, Stretto waives any
                       rights to receive compensation from the United States government in
                       connection with these chapter 11 cases;


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                 (d)      In its capacity as the Claims and Noticing Agent in these chapter 11 cases,
                          Stretto will not be an agent of the United States and will not act on behalf
                          of the United States;

                 (e)      Stretto will not employ any past or present employees of the Debtors in
                          connection with its work as the Claims and Noticing Agent in these chapter
                          11 cases;

                 (f)      Stretto is a “disinterested person” as that term is defined in section 101(14)
                          of the Bankruptcy Code with respect to the matters upon which it is to be
                          engaged;

                 (g)      In its capacity as Claims and Noticing Agent in these chapter 11 cases,
                          Stretto will not intentionally misrepresent any fact to any person;

                 (h)      Stretto shall be under the supervision and control of the Clerk’s office with
                          respect to the receipt and recordation of claims and claim transfers;

                 (i)      Stretto will comply with all requests of the Clerk’s office and the guidelines
                          promulgated by the Judicial Conference of the United States for the
                          implementation of 28 U.S.C. § 156(c); and

                 (j)      None of the services provided by Stretto as Claims and Noticing Agent in
                          these chapter 11 cases shall be at the expense of the Clerk’s office.

        19.      Stretto will supplement its disclosure to the Court if any facts or circumstances are

discovered that would require such additional disclosure.

        20.      To the extent that there is any inconsistency between this Application, the Order,

and the Engagement Agreement, the Order shall govern.


        21.         To the extent necessary, the Debtors request the Court grant this Application

notwithstanding Rule 6003, as immediate entry of an order granting the relief requested herein is

necessary to avoid irreparable harm due to the Debtors' immediate need for Stretto's services as

set forth herein.




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                                               Notice


22. Notice of the hearing on the relief requested in this Application will be provided by

the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, and is

sufficient under the circumstances.      Without limiting the foregoing, due notice will be

afforded, whether by facsimile, electronic mail, overnight courier or hand delivery, to

parties-in-interest, including:   (a) the Office of the U.S. Trustee for the Middle District

of Florida; (b) entities listed as holding the 20 largest unsecured claims against the

Debtors (on a consolidated basis); and (c) any party that has requested notice pursuant to

Bankruptcy Rule 2002 or who is registered to receive electronic services under CM/ECF. The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.


                           [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

the relief requested in this Application and granting such other and further relief as is appropriate

under the circumstances.

         Dated: November 15, 2023.

                                                Respectfully submitted,

                                                /s/ Scott A. Underwood
                                                Thomas M. Messana
                                                Florida Bar Number 991422
                                                Scott A. Underwood
                                                Florida Bar Number 730041
                                                Daniel E. Etlinger
                                                Florida Bar Number 77420
                                                UNDERWOOD MURRAY, P.A.
                                                100 N Tampa, Ste. 2325
                                                Tampa, FL 33602
                                                (813) 540-8401
                                                Email: tmessana@underwoodmurray.com
                                                        sunderwood@underwoodmurray.com
                                                        detlinger@underwoodmurray.com
                                                Proposed Counsel to the Debtors

                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and accurate copy of the foregoing, that was filed
 with the Clerk of Court, has been furnished electronically to those parties registered to
 receive service via CM/ECF and via first to the attached Local Rule 1007-2 parties in
 interest list and United States Trustee, George C. Young Federal Building, 400 W.
 Washington Street, Suite 1100, Orlando, Florida 32801 on this November 15, 2023.

                                                /s/ Scott A. Underwood_______________
                                                Scott A. Underwood
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                         EXHIBIT A

                     Betance Declaration
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

Starboard Group of Space Coast, LLC                   Case No. 6:23-bk-04789-TPG
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SBG Burger Opco, LLC;                                 Case No. 6:23-bk-04797-TPG (Lead Case)
                                                      Chapter 11 – Jointly Administered
      Debtors.                                        (proposed)
_________________________________/

DECLARATION OF SHERYL BETANCE IN SUPPORT OF DEBTORS’ EMERGENCY
     APPLICATION FOR ENTRY OF AN ORDER (A) AUTHORIZING THE
     EMPLOYMENT AND RETENTION OF STRETTO, INC. AS CLAIMS,
NOTICING, AND SOLICITATION AGENT AND (B) GRANTING RELATED RELIEF

         I, Sheryl Betance, under penalty of perjury, declare as follows:

         1.      I am a Senior Managing Director of Corporate Restructuring at Stretto, Inc.

(“Stretto”), a chapter 11 administrative services firm with offices at 410 Exchange, Ste. 100,

Irvine, California 92602. Except as otherwise noted in this declaration, I have personal knowledge

of the matters set forth herein, and if called and sworn as a witness, I could and would testify

competently thereto.

         2.      I submit this declaration in support of the above-captioned Debtors’ (collectively,

the “Debtors”) Debtors’ Application for Entry of an Order (a) Authorizing the Employment and
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Retention of Stretto, Inc. as Claims, Noticing, and Solicitation Agent and (b) Granting Related

Relief, filed contemporaneously herewith (the “Application”). 1

                                                Qualifications

        3.       Stretto is a chapter 11 administrator comprised of leading industry professionals

with significant experience in both the legal and administrative aspects of large, complex chapter

11 cases. Stretto’s professionals have experience in noticing, claims administration, solicitation,

balloting, and facilitating other administrative aspects of chapter 11 cases and experience in

matters of this size and complexity. Stretto’s professionals have acted as debtor’s counsel or

official claims and noticing agent in many large bankruptcy cases in this district and in other

districts nationwide. Stretto has developed efficient and cost-effective methods to handle the

voluminous mailings associated with the noticing and claims processing portions of chapter 11

cases to ensure the efficient, orderly and fair treatment of creditors, equity security holders, and all

parties in interest. Stretto’s active and former cases include: In re Stein Mart Inc., Case No. 20-

02387 (JAF) (Bankr. M.D. Fla. Aug. 14, 2020); In re Off Lease Only LLC, Case No. 23-11388

(CTG) (Bankr. D. Del. Sept. 15, 2023); In re Windsor Terrace Healthcare, LLC, Case No. 23-

11200 (VSK) (Bankr. C.D. Cal. Sept. 15, 2023); In re Benitago Inc., Case No. 23-11394 (SHL)

(Bankr. S.D.N.Y. Sept. 12, 2023); In re Soft Surroundings Holdings, LLC, Case No. 23-90769

(CML) (Bankr. S.D. Tex. Sept. 11, 2023); In re Sunland Med. Found., Case No. 23-8000 (MVL)

(Bankr. N.D. Tex. Aug. 31, 2023); In re Nashville Senior Care, LLC, Case No. 23-02924 (MFH)

(Bankr. M.D. Tenn. Aug. 16, 2023); In re Vantage Travel Serv., Inc., Case No. 23-11060 (JEB)

(Bankr. D. Mass. July 27, 2023); In re Whittaker, Clark & Daniels, Inc., Case No. 23-13575




1
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed in the Application.


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(MBK) (Bankr. D.N.J. May 8, 2023); and In re Allied Healthcare Prods., Inc., Case No. 23-41607

(BCW) (Bankr. E.D. Mo. June 30, 2023). 2

                                           Services to be Rendered

        4.       As agent and custodian of Court records pursuant to 28 U.S.C. § 156(c), Stretto will

perform, at the request of the Office of the Clerk of the Bankruptcy Court (the “Clerk”), the

noticing and claims-related services specified in the Application and the Engagement Agreement,

and, at the Debtors’ request, any related administrative, technical, and support services as specified

in the Application and the Engagement Agreement. In performing such services, Stretto will

charge the Debtors the rates set forth in the Engagement Agreement, which is attached as

Exhibit B to the Application.

        5.       Stretto represents, among other things, the following:

                 (a)       With the possible exception of de minimis fees and expenses incurred
                           prior to the Petition Date, Stretto is not a creditor of the Debtors;

                 (b)       Stretto will not consider itself employed by the United States
                           government and shall not seek any compensation from the United
                           States government in its capacity as the Claims and Noticing Agent in
                           these chapter 11 cases;

                 (c)       By accepting employment in these chapter 11 cases, Stretto waives any
                           rights to receive compensation from the United States government in
                           connection with these chapter 11 cases;

                 (d)       In its capacity as the Claims and Noticing Agent in these chapter 11
                           cases, Stretto will not be an agent of the United States and will not act
                           on behalf of the United States;

                 (e)       Stretto will not employ any past or present employees of the Debtors
                           in connection with its work as the Claims and Noticing Agent in these
                           chapter 11 cases;




2
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this declaration.
    Copies of these cited orders are available upon request to the Debtors’ proposed counsel.


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               (f)     Stretto is a “disinterested person” as that term is defined in section 101(14)
                       of the Bankruptcy Code with respect to the matters upon which it is to be
                       engaged;

               (g)     In its capacity as Claims and Noticing Agent in these chapter 11 cases,
                       Stretto will not intentionally misrepresent any fact to any person;

               (h)     Stretto shall be under the supervision and control of the Clerk with respect
                       to the receipt and recordation of claims and claim transfers;

               (i)     Stretto will comply with all requests of the Clerk and the guidelines
                       promulgated by the Judicial Conference of the United States for the
                       implementation of 28 U.S.C. § 156(c); and

               (j)     None of the services provided by Stretto as Claims and Noticing Agent in
                       these chapter 11 cases shall be at the expense of the Clerk.

       6.      I caused to be submitted for review by our conflicts system the names of all known

potential parties-in-interest (the “Potential Parties in Interest”) in these chapter 11 cases. The

list of Potential Parties in Interest was provided by the Debtors and included, among other parties,

the Debtors, non-Debtor affiliates, secured creditors, lenders, unsecured creditors, the United

States Trustee and any person employed in the office of the United States Trustee, and other

parties. The Potential Parties in Interest list was compared to an internal database that includes,

among others, Stretto’s parent entities, affiliates, and subsidiaries.

       7.      Stretto’s internal database also includes Stone Point (as defined below), its funds,

and each such fund’s respective portfolio companies as set forth in the list most recently provided

to Stretto by Stone Point’s internal compliance department (the “Stone Point Searched Parties”).

The results of the conflict check were compiled and reviewed by Stretto professionals under my

supervision. At this time, and as set forth in further detail herein, Stretto is not aware of any

connection that would present a disqualifying conflict of interest. Should Stretto discover any new

relevant facts or connections bearing on the matters described herein during the period of its

retention, Stretto will use reasonable efforts to promptly file a supplemental declaration.



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        8.        To the best of my knowledge, and based solely upon information provided to me

by the Debtors, and except as provided herein, neither Stretto, nor any of its professionals, has any

materially adverse connection to the Debtors, their creditors or other relevant parties. Stretto has

and will continue to represent clients in matters unrelated to these chapter 11 cases. In addition,

in matters unrelated to these chapter 11 cases, Stretto and its personnel have and will continue to

have relationships personally or in the ordinary course of business with certain vendors,

professionals, financial institutions, and other parties in interest that may be involved in the

Debtors’ chapter 11 cases. Stretto may also provide professional services to entities or persons that

may be creditors or parties in interest in these chapter 11 cases, which services do not directly relate

to, or have any direct connection with, these chapter 11 cases or the Debtors.

        9.        Based upon a review of the Potential Parties in Interest:

              •   The list of Potential Parties in Interest includes entities, as set forth on Annex 1
                  attached hereto, which are current, former or potential defendants to avoidance
                  actions brought under the Bankruptcy Code by clients of Stretto Recovery Services.
                  However, to the best of my knowledge, such relationships are materially unrelated
                  to these Chapter 11 Cases.

        10.       To the best of my knowledge, none of Stretto’s employees are related to bankruptcy

judges in the Middle District of Florida, the United States Trustee for Region 21, or any attorney

known by Stretto to be employed in the Office of the United States Trustee serving the Middle

District of Florida.

        11.       Certain of Stretto’s professionals were partners of or formerly employed by firms

that are providing or may provide professional services to parties in interest in these cases. Except

as may be disclosed herein, these professionals did not work on any matters involving the Debtors

while employed by their previous firms. Moreover, these professionals were not employed by

their previous firms when these chapter 11 cases were filed. To the best of my knowledge, none

of Stretto’s professionals were partners of, or formerly employed within the last three years by


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firms that are Potential Parties in Interest or that have filed a notice of appearance in these Chapter

11 Cases.

       12.      Stretto has and will continue to represent clients in matters unrelated to these

chapter 11 cases. In addition, in matters unrelated to these chapter 11 cases, Stretto and its

personnel have and will continue to have relationships personally or in the ordinary course of

business with certain vendors, professionals, financial institutions, and other parties in interest that

may be involved in the Debtors’ chapter 11 cases. Stretto may also provide professional services

to entities or persons that may be creditors or parties in interest in these chapter 11 cases, which

services do not directly relate to, or have any direct connection with, these chapter 11 cases or the

Debtors.

       13.      Stretto and its personnel in their individual capacities regularly use the services of

law firms, investment banking and advisory firms, accounting firms, and financial advisors. Such

firms engaged by Stretto or its personnel may appear in chapter 11 cases representing the Debtors

or parties in interest. To the best of my knowledge, Stretto does not currently utilize the services

of any law firms, investment banking and advisory firms, accounting firms, or financial advisors

who have been identified as Potential Parties in Interest or who have filed a notice of appearance

in these Chapter 11 Cases.

       14.      In April 2017, Stretto was acquired by the Trident VI Funds managed by private

equity firm Stone Point Capital LLC (“Stone Point”). Stone Point is a financial services-focused

private equity firm based in Greenwich, Connecticut. The firm has raised and managed nine

private equity funds – the Trident Funds – with aggregate committed capital of approximately

$40 billion. Stone Point targets investments in the global financial services industry, and related

sectors.




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       15.      The following disclosure is made out of an abundance of caution in an effort to

comply with the Bankruptcy Code and Bankruptcy Rules. Stretto has searched the names of the

Debtors and the names of the Potential Parties in Interest against the Stone Point Searched Parties.

       16.      Based solely on the foregoing search, Stretto has determined that neither the Trident

VI Funds, Stone Point nor the Stone Point Searched Parties have been identified on the parties in

interest list in these chapter 11 cases as of the date hereof and to the best of its knowledge, that

there are no material connections that require disclosure. To the extent Stretto learns of any

additional relevant facts or connections between Stone Point’s funds or investments included in

the above-described conflicts search and the Debtors that bear on these chapter 11 cases, Stretto

will promptly file a supplemental disclosure. Stretto may have had, may currently have, or may

in the future have business relationships unrelated to the Debtors with one or more Stone Point

entities including, among others, portfolio companies of Stone Point.

       17.      From time to time, Stretto partners or employees personally invest in mutual funds,

retirement funds, private equity funds, venture capital funds, hedge funds and other types of

investment funds (the “Investment Funds”), through which such individuals indirectly acquire a

debt or equity security of many companies, one of which may be one of the Debtors or their

affiliates, often without Stretto’s or its personnel’s knowledge. Each Stretto partner or employee

generally owns substantially less than one percent of such Investment Fund, does not manage or

otherwise control such Investment Fund and has no influence over the Investment Fund’s decision

to buy, sell, or vote any particular security. Each Investment Fund is generally operated as a blind

pool, meaning that when the Stretto partners or employees make an investment in the particular

Investment Fund, he, she or they do not know what securities the blind pool Investment Fund will

purchase or sell, and have no control over such purchases or sales.




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        18.      From time to time, Stretto partners or employees may personally directly acquire a

debt or equity security of a company that may be one of the Debtors or their affiliates. Stretto has

a policy prohibiting its partners and employees from using confidential information that may come

to their attention in the course of their work. In this regard, subject to the above, all Stretto partners

and employees are barred from trading in securities with respect to matters in which Stretto is

retained. Subject to the foregoing, upon information and belief, and upon reasonable inquiry

through email survey of Stretto’s employees, Stretto does not believe that any of its partners or

employees own any debt or equity securities of a company that is a Debtor or of any of its affiliates.

        19.      To the best of my knowledge, Stretto (a) does not hold or represent an interest

adverse to the Debtor’s estate; (b) is a “disinterested person” that (i) is not a creditor, an equity

security holder, or an insider, (ii) is not and was not, within two years before the Petition Date, a

director, officer, or employee of any of the Debtors, and (iii) does not have an interest materially

adverse to the interest of the Debtors’ estate or of any class of creditors or equity security holders,

by reason of any direct or indirect relationship to, connection with, or interest in, the debtor, or for

any other reason; and (c) has disclosed all of Stretto’s connections with the Debtors, its creditors,

any other party in interest, their respective attorneys and accountants, the U.S. Trustee, or any

person employed in the office of the U.S. Trustee.



                            [Remainder of page intentionally left blank.]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information, knowledge and belief.


Dated: November 14, 2023

                                         /s/ Sheryl Betance
                                         Sheryl Betance
                                         Senior Managing Director
                                         Stretto, Inc.
                                         410 Exchange, St. 100
                                         Irvine, CA 92602
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                                   Annex 1

Alabama Department of Revenue
Aramark Uniform Services
AT&T
City of Baton Rouge
Comcast
Illinois Department of Revenue
Kimco Facility Services LLC
Missouri Department of Revenue
Red Book Solutions
Tech Service Today LLC
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                         EXHIBIT B

                   Engagement Agreement
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Services Agreement
                                                                 October 10
This Services Agreement (this “Agreement”) is entered into as of ________________,    2023,
between Stretto, Inc. (“Stretto”) and Starboard Group of Space Coast, LLC. (together with its
affiliates and subsidiaries, the “Company”). 1

In consideration of the promises set forth herein and other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as follows:

1. Services
    (a) Stretto agrees to provide the Company with consulting services in connection with the
        preparation for and within a potential chapter 11 bankruptcy for the Company (the
        “Action”) including, but not limited to, preparation of schedules of assets and liabilities,
        statement of financial affairs, search of (i) national, (ii) state and local public records, (iii)
        land records, (iv) judgment records, (v) UCC, (vi) judgment lien, (vii) secretary of state for all
        relevant jurisdictions, legal noticing, maintenance of claims registers and reconciliation,
        creditor mailing matrices, an electronic platform for filing claims and supporting documents,
        claim noticing, claim responses, plan solicitation and balloting, disbursements, crisis
        communications, claims analysis and reconciliation, contract review and analysis, case
        research, depository management, treasury services, confidential online workspaces or data
        rooms, (publication to which shall not violate the confidentiality provisions of this
        Agreement), and any other services agreed upon by the parties or otherwise required by
        applicable law, governmental regulations, or court rules or orders (all such services
        collectively, the “Services”).
    (b) The Company acknowledges and agrees that Stretto will often take direction from the
        Company’s representatives, employees, agents, and/or professionals (collectively, the
        “Company Parties”) with respect to providing Services hereunder. The parties agree that
        Stretto may rely upon, and the Company agrees to be bound by, any requests, advice, or
        information provided by the Company Parties to the same extent as if such requests, advice,
        or information were provided by the Company.
    (c) The Company agrees and understands that Stretto shall not provide the Company or any
        other party with legal advice.

2. Rates, Expenses and Payment
    (a) Stretto will provide the Services on an as-needed basis and upon request or agreement of
        the Company in accordance with the attached rate structure attached hereto as Exhibit B.
        The Company agrees to pay for reasonable out of pocket expenses incurred by Stretto in
        connection with providing Services hereunder.
    (b) Stretto will bill the Company no less frequently than monthly. Subject to applicable
        bankruptcy court approval, all invoices shall be due and payable upon receipt. Where an
        expense or group of expenses to be incurred is expected to exceed $10,000 (e.g.,
        publication notice), Stretto may require advance or direct payment from the Company
        before the performance of Services hereunder.


1
  The Company shall include, to the extent applicable, the Company, as debtor and debtor in possession in any
chapter 11 case, together with any affiliated debtors and debtors in possession whose chapter 11 cases are
jointly administered with the Company’s chapter 11 case. Each affiliated entity shall be jointly and severally
liable for the Company’s fees and expenses.,.

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   (c) In the case of a dispute with respect to an invoice amount, the Company shall provide a
       detailed written notice of such dispute to Stretto within 20 days of receipt of the invoice.
   (d) The undisputed portion of the invoice will remain due and payable immediately upon
       receipt thereof. Late charges shall not accrue on any amounts disputed in good faith.
   (e) The Company shall pay any fees and expenses for Services relating to, arising out of, or
       resulting from any error or omission made by the Company or the Company Parties.
   (f) The Company shall pay or reimburse any taxes that are applicable to Services performed
       hereunder or that are measured by payments made hereunder and are required to be
       collected by Stretto or paid by Stretto to a taxing authority.
   (g) Upon execution of this Agreement, the Company shall pay Stretto an advance of
       $____20,000.00______________. Stretto may use such advance against unpaid fees and
       expenses hereunder. The Company shall, upon Stretto’s request, which request may take
       the form of an invoice, replenish the advance to the original advance amount. Stretto may
       also, at its option hold such advance to apply against unpaid fees and expenses hereunder.
   (h) Stretto reserves the right to make reasonable increases to its rate structure on a periodic
       basis and, Stretto shall provide 30 days’ notice to the Company of such increase.
   (i) Payments to Stretto under the terms of this Agreement for services rendered, may be
       remitted by Company using either (or both) of the following methods:

               Wire Transmission
               Bank Name – Pacific Western Bank
               Bank Address – 110 West A Street, Suite 100, San Diego, CA 92101
               ABA – 122238200
               Account Number – 1000681781
               Account Name – Bankruptcy Management Solutions, Inc.

               Check
               Stretto
               Attn: Accounts Receivable
               410 Exchange, Suite 100
               Irvine, CA 92602

3. Confidentiality
   (a) The Company and Stretto agree to keep confidential all non-public records, systems,
       procedures, software, and other information received from the other party in connection
       with the Services provided hereunder; provided, however, that if any such information was
       publicly available, already in the receiving party’s possession or known to it, independently
       developed by the receiving party, lawfully obtained by the receiving party from a third party,
       or required to be disclosed by law, then the receiving party shall bear no responsibility for
       publicly disclosing such information.
   (b) If either party reasonably believes that it is required to disclose any confidential information
       pursuant to an order from a governmental authority, (i) such party shall provide written
       notice to the other party promptly after receiving such order, to allow the other party
       sufficient time, if possible, to seek any remedy available under applicable law to prevent
       disclosure of the information; and (ii) such party will limit such disclosure to the extent such
       party’s counsel in good faith determines such disclosure can be limited.




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4. Property Rights
Stretto reserves to itself and its agents all property rights in and to all materials, concepts, creations,
inventions, works of authorship, improvements, designs, innovations, ideas, discoveries, know-how,
techniques, programs, systems, specifications, applications, processes, routines, manuals,
documentation, and any other information or property (collectively, “Property”) furnished by
Stretto for itself or for use by the Company hereunder. The foregoing definition of Property shall
include any and all data, from any source, downloaded, stored, and maintained by Stretto’s
technology infrastructure. Fees and expenses paid by the Company do not vest in the Company any
rights in such Property. Such Property is only being made available for the Company’s use during
and in connection with the Services provided by Stretto hereunder.

5. Bank Accounts
At the request of the Company or the Company Parties, and subject to bankruptcy court approval,
Stretto shall be authorized to establish accounts with financial institutions in the name of and as
agent for the Company to facilitate cash management and distributions. To the extent that certain
financial products are provided to the Company pursuant to Stretto’s agreement with financial
institutions, Stretto may receive compensation from such institutions for the services Stretto
provides pursuant to such agreement. In the event that Company commences a proceeding under
title 11 of Chapter 11 of the United States Code, Stretto agrees to abide by all requirements relating
to the maintenance of bank accounts imposed by the Office of the United States Trustee.

6. Term and Termination
    (a) This Agreement shall remain in effect until terminated by either party: (i) on 30 days’ prior
        written notice to other party; (ii) immediately upon written notice for Cause (as defined
        herein); or (iii) immediately upon entry of an applicable court order directing the same.
        “Cause” means (i) gross negligence or willful misconduct of Stretto that causes material
        harm to the Company, (ii) the failure of the Company to pay Stretto invoices for more than
        60 days from the date of invoice, or (iii) the accrual of invoices or unpaid Services in excess
        of the advance held by Stretto where Stretto reasonably believes it likely will not be paid.
    (b) If this Agreement is terminated after Stretto is retained pursuant to a court order, the
        Company promptly shall seek entry of a court order discharging Stretto of its duties under
        such retention, which order shall be in form and substance reasonably acceptable to Stretto.
    (c) If this Agreement is terminated, the Company shall remain liable for all amounts then
        accrued and/or due and owing to Stretto hereunder.
    (d) If this Agreement is terminated, Stretto shall coordinate with the Company to maintain an
        orderly transfer of record keeping functions, and Stretto shall provide the necessary staff,
        services, and assistance required for such an orderly transfer. The Company agrees to pay
        for such Services pursuant to Stretto’s rate structure.

7. No Representations or Warranties
Stretto makes no representations or warranties, express or implied, regarding the services and
products sold or licensed to the Company hereunder or otherwise with respect to this Agreement,
including, without limitation, any express or implied warranty of merchantability, fitness or
adequacy for a particular purpose or use, quality, productiveness, or capacity. Notwithstanding the
foregoing, if the above disclaimer is not enforceable under applicable law, such disclaimer will be
construed by limiting it so as to be enforceable to the extent compatible with applicable law.



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8. Indemnification
    (a) To the fullest extent permitted by applicable law, the Company shall indemnify and hold
        harmless Stretto and its members, directors, officers, employees, representatives, affiliates,
        consultants, subcontractors, and agents (collectively, the “Indemnified Parties”) from and
        against any and all losses, claims, damages, judgments, liabilities, and expenses, whether
        direct or indirect (including, without limitation, counsel fees and expenses) (collectively,
        “Losses”) resulting from the actions attributable or representations made by the Company
        but arising out of, or related to Stretto’s performance hereunder. Without limiting the
        generality of the foregoing, Losses include any liabilities resulting from claims by any third
        parties against any Indemnified Party for actions attributable or representations made by
        the Company.
    (b) Stretto and the Company shall notify each other in writing promptly upon the assertion,
        threat, or commencement of any claim, action, investigation, or proceeding that either
        party becomes aware of with respect to the Services provided hereunder.
    (c)
    (d) The Company's indemnification obligations hereunder shall survive the termination of this
        Agreement.

9. Limitations of Liability
Except as expressly provided herein, Stretto’s liability to the Company for any Losses, unless due to
Stretto’s gross negligence or willful misconduct, shall be limited to the total amount paid by the
Company to Stretto for the portion of the particular work that gave rise to the alleged Loss. Absent
gross negligence or willful misconduct, Stretto not be liable for any indirect, special, or
consequential damages (such as loss of anticipated profits or other economic loss) in connection
with or arising out of the Services provided hereunder.

10. Company Data
    (a) The Company is responsible for, and Stretto does not verify, the accuracy of the programs,
        data, and other information it or any Company Party submits for processing to Stretto and
        for the output of such information, including, without limitation, with respect to preparation
        of statements of financial affairs and schedule of assets and liabilities, notices, schedules,
        and claim responses (collectively, “Notice Information”). Stretto bears no responsibility for
        the accuracy and content of the Notice Information, and the Company is deemed hereunder
        to have approved and reviewed all Notice Information filed or served on its behalf.
    (b) The Company agrees, represents, and warrants to Stretto that before delivery of any
        information to Stretto: (i) the Company has full authority to deliver such information to
        Stretto; and (ii) Stretto is authorized to use such information to perform Services hereunder
        and as otherwise set forth in this Agreement.
    (c) Any data, storage media, programs, or other materials furnished to Stretto by the Company
        may be retained by Stretto until the Services provided hereunder are paid in full. The
        Company shall remain liable for all fees and expenses incurred by Stretto under this
        Agreement as a result of data, storage media, or other materials maintained, stored, or
        disposed of by Stretto. Any such disposal shall be in a manner requested by or acceptable to
        the Company; provided that if the Company has not utilized Stretto’s Services for a period of
        90 days or more, Stretto may dispose of any such materials in a manner to be determined in
        Stretto’s sole reasonable discretion, and be reimbursed by the Company for the expense of
        such disposition, after giving the Company 30 days’ notice. The Company agrees to initiate



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        and maintain backup files that would allow the Company to regenerate or duplicate all
        programs, data, or information provided by the Company to Stretto.
    (d) Stretto and the Company agree that this Agreement is subject to the terms set forth in the
        GDPR Addendum attached hereto as Exhibit A, which are incorporated herein by reference.
    (e) Notwithstanding the foregoing, if Stretto is retained pursuant to a court order, disposal of
        any Company data, storage media, or other materials shall comply with any applicable court
        orders and rules or clerk’s office instructions.

11. California Consumer Privacy Act.
    (a) Definitions. In this Section,
        (i) “CCPA” means the California Consumer Privacy Act of 2018, including amendments and
              final regulations;
        (ii) “Personal Information” has the same meaning given to such term under section
              1798.140 of the CCPA and is limited to any Company data provided to Stretto by the
              Company in order for Stretto to provide Services under this Agreement; and
        (iii) “Commercial Purposes,” “Sell,” “Business,” and “Service Provider” have the same
              meanings assigned to them in section 1798.140 of the CCPA.
    (b) Relationship Between the Parties. To the extent the Company is considered a Business
        under California law, and subject to the terms of this Section, Stretto will act solely as
        Company’s Service Provider with respect to Personal Information.
    (c) Restrictions. Stretto certifies it will not: (i) Sell Personal Information or (ii) collect, retain,
        use, or disclose Personal Information for any purpose other than for the specific purpose of
        performing the Services specified in this Agreement, including collecting, retaining, using, or
        disclosing Personal Information for any Commercial Purpose other than providing the
        Services specified in this Agreement unless otherwise permitted under the CCPA.

12. Non-Solicitation
The Company agrees that neither it nor any of its subsidiaries or affiliates shall directly or indirectly
solicit for employment, employ, or otherwise retain as employees, consultants, or otherwise, any
employees of Stretto during the term of this Agreement and for a period of 12 months after
termination thereof unless Stretto provides prior written consent to such solicitation or retention.

13. Force Majeure
Whenever performance by Stretto of any of its obligations hereunder is materially prevented or
impacted by reason of any act of God, government requirement, strike, lock-out or other industrial
or transportation disturbance, fire, flood, epidemic, lack of materials, law, regulation or ordinance,
act of terrorism, war or war condition, or by reason of any other matter beyond Stretto's reasonable
control, then such performance shall be excused.

14. Choice of Law
The validity, enforceability, and performance of this Agreement shall be governed by and construed
in accordance with the laws of the State of Florida.

15. Arbitration
Any dispute arising out of or relating to this Agreement or the breach thereof shall be finally
resolved by the bankruptcy court in which the Company’s bankruptcy case is pending, unless such
bankruptcy case has been closed or otherwise incapable of adjudicating such dispute, in which case

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it shall be resolved by arbitration administered by the American Arbitration Association under its
Commercial Arbitration Rules, and judgment upon the award rendered by the arbitrators may be
entered in any court having jurisdiction. There shall be three arbitrators named in accordance with
such rules. The arbitration shall be conducted in the English language in Irvine, California in
accordance with the United States Arbitration Act.

16. Integration: Severability; Modifications: Assignment
    (a) Each party acknowledges that it has read this Agreement, understands it, and agrees to be
        bound by its terms, and further agrees that it is the complete and exclusive statement of the
        agreement between the parties, which supersedes and merges all prior proposals,
        understandings, agreements, and communications between the parties relating to the
        subject matter hereof.
    (b) If any provision of this Agreement shall be held to be invalid, illegal, or unenforceable, the
        validity, legality, and enforceability of the remaining provisions shall in no way be affected
        or impaired thereby.
    (c) This Agreement may be modified only by a writing duly executed by an authorized
        representative of the Company and an officer of Stretto.
    (d) This Agreement and the rights and duties hereunder shall not be assignable by the parties
        hereto except upon written consent of the other; provided, however, that Stretto may
        assign this Agreement to a wholly-owned subsidiary or affiliate without the Company’s
        consent.

17. Effectiveness of Counterparts
This Agreement may be executed in two or more counterparts, each of which will be deemed an
original, but all of which shall constitute one and the same agreement. This Agreement will become
effective when one or more counterparts have been signed by each of the parties and delivered to
the other party, which delivery may be made by exchange of copies of the signature page by fax or
email.

18. Notices
All notices and requests in connection with this Agreement shall be sufficiently given or made if
given or made in writing via hand delivery, overnight courier, U.S. Mail (postage prepaid) or email,
and addressed as follows:

If to Stretto:          Stretto
                        410 Exchange, Ste. 100
                        Irvine, CA 92602
                        Attn: Sheryl Betance
                        Tel: 714.716.1872
                        Email: sheryl.betance@stretto.com

If to the Company:


With a copy to:


IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective as of the date


                                                                                                         6
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first above written.

Stretto

_____________________________________________
By: Sheryl Betance
Title: Senior Managing Director

Starboard Group of Space Coast, LLC

_____________________________________________
By:
Title:




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first above written.

Stretto

_____________________________________________
By:
Title:

Starboard Group of Space Coast, LLC

_____________________________________________
By:
       Andrew Levy
Title:
      Manager




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                         Exhibit A
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                                        GDPR Addendum

         This GDPR Addendum is a part of the Services Agreement (the “Agreement”) by and between
Stretto (the “Processor”) 2 and the Company (together, the “Parties”).

                                            RECITALS
WHEREAS,

       (A)      The Processor and the Company have agreed to the following terms regarding the
                Processing of Company Personal Data.

       (B)      The Company acts as a Controller of the Company Personal Data.

       (C)      The Company wishes to subcontract certain Services, pursuant to the Agreement,
                which imply and require the processing of personal data, to the Processor.

       (D)      The Company instructs the Processor to process Company Personal Data.

       (E)      The Parties seek to implement a data processing agreement that complies with the
                requirements of the current legal framework in relation to data processing and with
                the Regulation (EU) 2016/679 of the European Parliament and of the Council of 27
                April 2016 on the protection of natural persons with regard to the processing of
                personal data and on the free movement of such data, and repealing Directive
                95/46/EC (General Data Protection Regulation or “GDPR”).

NOW THEREFORE, the Company and the Processor agree as follows:

1.     Definitions. The parties agree that the following terms, when used in this GDPR Addendum,
       shall have the following meanings.

       (a)      “Addendum” shall mean this GDPR Addendum;

       (b)      “Company Personal Data” means any Personal Data Processed by the Processor or a
                Subprocessor on behalf of the Company pursuant to or in connection with the
                Agreement, and may include, for example, Personal Data of Company’s employees,
                clients, customers, creditors, equity interest holders, or counter-parties;

       (c)      “Data Protection Laws” means EU Directive 95/46/EC, as transposed into domestic
                legislation of each Member State and as amended, replaced or superseded from time
                to time, including by the GDPR and laws implementing or supplementing the GDPR;

       (d)      “Services” means the services the Processor provides to the Company pursuant to
                the Agreement;

       (e)      “Subprocessor” means any person appointed by or on behalf the Processor to process
                Personal Data on behalf of the Company in connection with the Agreement;



2
  Capitalized terms utilized but not defined in the GDPR Addendum have the meanings ascribed to
them in the Agreement.
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     (f)      “Technical and organizational security measures” means those measures aimed at
              protecting Personal Data against accidental or unlawful destruction or accidental loss,
              alteration, unauthorized disclosure or access, in particular where the processing
              involves the transmission of data over a network, and against all other unlawful forms
              of processing;

     (g)      The terms “Commission”, “Controller”, “Data Subject”, “Member State”, “Personal
              Data”, “Personal Data Breach”, “Processor”, “Processing”, “Special Categories of
              Personal Data”, and “Supervisory Authority” shall have the same meaning as in the
              GDPR, and their derivative terms shall be construed accordingly.

2.   Obligations of the Company. The Company agrees and warrants:

     (a)      that the Processing, including the transfer itself, of the Company Personal Data has
              been and will continue to be carried out in accordance with the relevant provisions
              of the applicable Data Protection Laws (and, where applicable, has been notified to
              the relevant authorities of the Member State);

     (b)      that it has instructed and throughout the duration of the Services will instruct the
              Processor to process the Company Personal Data transferred only on the Company’s
              behalf and in accordance with the applicable Data Protection Laws, the Agreement,
              and this Addendum;

     (c)      that the Processor will provide sufficient guarantees in respect of the technical and
              organizational security measures;

     (d)      that after assessment of the requirements of the applicable data protection law, the
              technical and organizational security measures are appropriate to protect the
              Company Personal Data against accidental or unlawful destruction or accidental loss,
              alteration, unauthorized disclosure or access, in particular where the processing
              involves the transmission of data over a network, and against all other unlawful forms
              of processing, and that these measures ensure a level of security appropriate to the
              risks presented by the processing and the nature of the data to be protected having
              regard to the state of the art and the cost of their implementation;

     (e)      that it will ensure compliance with the technical and organizational security
              measures; and

     (f)      that the Company Personal Data transferred to Processor does not include or involve
              any special categories of data, as defined by Article 9 of the GDPR.

3.   Obligations of the Processor. The Processor agrees and warrants:

     (a)      to comply with the Data Protection Laws;

     (b)      to process the Company Personal Data only on behalf of the Company and in
              compliance with its instructions and this Addendum; if it cannot provide such
              compliance for whatever reasons, it agrees to inform promptly the Company of its
              inability to comply, in which case the Company is entitled to suspend the processing
              of data and/or terminate the Agreement;


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     (c)           that it has no reason to believe that the legislation applicable to it prevents it from
                   fulfilling the instructions received from the Company and its obligations under the
                   Agreement and that in the event of a change in this legislation which is likely to have
                   a substantial adverse effect on the warranties and obligations provided by the
                   Clauses, it will promptly notify the change to the Company as soon as it is aware, in
                   which case the Company is entitled to suspend the transfer of data and/or terminate
                   the Agreement;

     (d)       that it has implemented reasonable and appropriate technical and organizational
               security measures before processing the Company Personal Data;

     (e)       that it will promptly notify the Company about:

             i.            any legally binding request for disclosure of the Company Personal Data by a
                           law enforcement authority unless otherwise prohibited, such as a prohibition
                           under criminal law to preserve the confidentiality of a law enforcement
                           investigation;

             ii.           any accidental or unauthorized access; and

            iii.           any request received directly from any data subject without responding to
                           that request, unless it has been otherwise authorized to do so by the
                           Company or as required by any applicable law;

     (f)       to deal promptly and properly with all inquiries from the Company relating to its
               Processing of the Company Personal Data and to abide by the advice of the
               supervisory authority with regard to the processing of the Company Personal Data;

     (g)       to take reasonable steps to ensure the reliability of any employee, agent, or
               contractor of any Subprocessor who may have access to the Company Personal Data,
               ensuring in each case that access is strictly limited to those individuals who need to
               know or access the relevant Company Personal Data, as strictly necessary to perform
               the Services under the Agreement, and to comply with Data Protection Laws in the
               context of that individual’s duties to the Subprocessor, ensuring that all such
               individuals are subject to confidentiality undertakings or professional or statutory
               obligations of confidentiality; and

     (h)       that it shall not use (or disclose any Company Personal Data to) any Subprocessor
               unless required or authorized by the Company with prior written consent.

4.   Obligations after Termination of Personal Data Processing Services.

     (a)       The Parties agree that within 10 business days of the termination of the Agreement
               or provision of Services, the Processor and any Subprocessor shall, at the choice of
               the Company, return all Company Personal Data and the copies thereof to the
               Company or shall destroy all the Company Personal Data and certify to the Company
               that it has done so, unless legislation imposed upon the Processor prevents it from
               returning or destroying all or part of the Company Personal Data. In that case, the
               Processor warrants that it will guarantee the confidentiality of the Company Personal
               Data and will not further process the Company Personal Data.


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     (b)      The Processor and any Subprocessor warrant that upon request of the Company
              and/or of the supervisory authority, it will submit its data-processing facilities for an
              audit of the technical and organizational security measures.

5.   Notices. All notices and communications given under this Addendum must be delivered as
     provided for by the Agreement.




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Preferred Rate Structure
Consulting Services and Rates
Analyst                                                          Waived
The Analyst processes incoming mail, creditor correspondence and returned mail, and supports the case
team with administrative tasks as required.

Consultant (Associate/Senior Associate)                              $70 - $200
The Associate manages the various data collection processes required by the Chapter 11 process. This
includes, among other things, compiling the creditor matrix and Schedules/SOFAs (and generating drafts
of same for counsel and advisors), reviewing and processing claims and ballots, overseeing contract
review, overseeing all physical and electronic noticing, and generating custom claim and ballot reports.

The Senior Associate leads complex data aggregation projects for compilation of Schedules & SOFA, the
creditor matrix and special notice lists. In addition, the Senior Associate oversees quality control and on
mailings and reports. Stretto's Senior Associates average over seven years of experience.

Director/ Managing Director                                          $210 - $250
The Director is the primary contact for the company, counsel and other professionals and oversees and
supports all aspects of the administration for the entirety of an engagement.

The Managing Director provides industry and/or project specific expertise to support complex matters.
Professionals, including Stretto's executive management team will serve in this role when appropriate.

Stretto's Directors and Managing Directors have over fifteen years of experience and are typically former
restructuring professionals.

Executive Management                                           Waived
Our Executive Management team oversees Stretto’s Corporate Restructuring group and will provide
consulting support to this matter at no charge.

Solicitation, Balloting and Tabulation Rates
Solicitation Associate                                                $230
The Solicitation Associate reviews, tabulates and audits ballots, and executes plan solicitation and other
public securities mailings. The Solicitation Associate also prepares customized reports relating to voting
and other corporate events, including exchange offers and rights subscriptions. The Solicitation Associate
also interfaces with banks, brokers, nominees, depositories and their agents regarding solicitations and
related communications.

Director of Securities & Solicitations                                $250
The Director of Securities leads public securities noticing and related actions, including voting, exchange
offers, treatment elections, rights subscriptions and distributions and coordinates with banks, brokers,
nominees, their agents and depositories to ensure the smooth execution of related processes.




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Printing & Noticing Services
Printing                                                             $0.10 (per image)
Postage/Overnight Delivery                                           Preferred Rates
ECF Email Noticing                                                   Waived
Fax Noticing                                                         $0.10 (per page)
Envelopes                                                            Varies by Size
Coordinate and Publish Legal Notices                                 Preferred Pricing Available on Request
Public Securities Events                                             Varies by Event

Electronic Services
Case Homepage Set-Up and Hosting                                     Waived
Robotic Process Automation1                                          Starting at $0.48 (per process)
Encrypted HTTPS Bandwidth (volume discount applies)                  Starting at $0.125 (per MB)
Online Monthly Operating Report Platform Subscription                Waived

Claims Administration & Management Expenses
License Fee and System Maintenance                                   $0.10 (per creditor per month)
Database and System Access (Unlimited Users)                         Waived
Online Claims Filing Portal                                          Waived
Online Ballots Filing Portal                                         Waived
Preference Analysis (Initial Preference Review)                      Standard Hourly Rates

Document Management Services
Electronic Imaging (Per Imaged Page)                                 $0.10
FedRAMP Compliant File Retention (volume discount applies)           Starting at $0.125 (per MB)
Virtual Data Room                                                    Available on Request

Call Center Support Services
Case-Specific Toll-Free Number and Voice-Mail Box                    Waived
Interactive Voice Response (Per Minute)                              Waived
Monthly Maintenance Charge                                           Waived
Management of Call Center (Per Hour)                                 Standard Hourly Rates

Disbursement Services
Check Issuance                                                       Available on Request
Account Opening Fee                                                  Available on Request
W-9 Mailing and Maintenance of TIN Database                          Standard Hourly Rates
Disbursements - Record to Transfer Agent                             Quoted at Time of Request




1
 Includes ECF docket automation, subscription-based docket notifications, USPS bulk mail operations, address
validation, e-filing transactions, cloud computing charges, and related activities

                                                                                                               2
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                         EXHIBIT C

                     Proposed Order




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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:

Starboard Group of Space Coast, LLC                          Case No. 6:23-bk-04789-TPG
Starboard Group of Southeast Florida, LLC                    Case No. 6:23-bk-04791-TPG
Starboard Group of Tampa, LLC                                Case No. 6:23-bk-04790-TPG
Starboard Group of Tampa II, LLC                             Case No. 6:23-bk-04793-TPG
Starboard Group of Alabama, LLC                              Case No. 6:23-bk-04792-TPG
Starboard with Cheese, LLC                                   Case No. 6:23-bk-04796-TPG
7 S&M Foods, LLC                                             Case No. 6:23-bk-04798-TPG
9 S&M Foods, LLC                                             Case No. 6:23-bk-04800-TPG
10 S&M Foods, LLC                                            Case No. 6:23-bk-04802-TPG
SBG Burger Opco, LLC;                                        Case No. 6:23-bk-04797-TPG (Lead Case)
                                                             Chapter 11 – Jointly Administered
      Debtors.                                               (proposed)
_________________________________/

                  ORDER (A) AUTHORIZING THE RETENTION
          AND APPOINTMENT OF STRETTO, INC. AS CLAIMS, NOTICING,
         AND SOLICITATION AGENT AND (B) GRANTING RELATED RELIEF

         Upon the application (the “Application”) 1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
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retention and appointment of Stretto, Inc. (“Stretto”) as claims and noticing agent (“Claims and

Noticing Agent”) pursuant to 28 U.S.C. § 156(c) and sections 105(a) and 327(a) of the Bankruptcy

Code, and (b) granting related relief, all as more fully set forth in the Application; and upon the

First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §

1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and this Court having found that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Application

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Application is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Application

and opportunity for a hearing on the Application were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Application and having heard

the statements in support of the relief requested therein at a hearing before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Application and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The Application is approved on a final basis as set forth herein.

        2.      The Debtors are authorized to retain and appoint Stretto as Claims and Noticing

Agent under the terms of the Engagement Agreement as set forth in this Order, and Stretto is

authorized and directed to perform noticing and balloting services and to receive, maintain, record,

and otherwise administer the proofs of claim filed in these chapter 11 cases, and other related tasks

as described as “Stretto Services” in the Application, the Engagement Agreement, and this Order.



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The Clerk shall provide Stretto with ECF credentials that allow Stretto to receive ECF notifications

and file certificates of service.

        3.      Stretto shall serve as the custodian of court records and shall be designated as the

authorized repository for all proofs of claim filed in these chapter 11 cases and is authorized and

directed to maintain official claims registers for each of the Debtors and to provide the Clerk with

a certified duplicate thereof upon the request of the Clerk.

        4.      Stretto is authorized and directed to provide an electronic interface for filing of

proofs of claim and to obtain a post office box or address for the receipt of proofs of claim. Stretto

shall provide public access to the claims register, including complete proofs of claim with

attachments, if any, without charge.

        5.      Stretto is authorized to take such other action to comply with all duties and Services

set forth in the Application.

        6.      Notwithstanding sections 330 and 331 of the Bankruptcy Code and Bankruptcy

Rule 2016, the Debtors are authorized to compensate Stretto in accordance with the terms of the

Engagement Agreement upon the receipt of reasonably detailed invoices setting forth the services

provided by Stretto and the rates charged for each, and to reimburse Stretto for all reasonable and

necessary expenses it may incur, upon the presentation of appropriate documentation, without the

need for Stretto to file fee applications or otherwise seek Court approval for the compensation of

its services and reimbursement of its expenses.

        7.      Stretto shall maintain records of all services showing dates, categories of services,

fees charged and expenses incurred, and shall serve monthly invoices on the Debtors, the Office

of the United States Trustee, counsel for the Debtors, counsel for any official committee




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monitoring the expenses of the Debtors, and any party in interest who specifically requests service

of the monthly invoices.

       8.       The parties shall meet and confer in an attempt to resolve any dispute that may arise

relating to the Engagement Agreement or monthly invoices; provided that the parties may seek

resolution of the matter from the Court if resolution is not achieved.

       9.       Without further order of the Court, pursuant to section 503(b)(1)(A) of the

Bankruptcy Code, the fees and expenses of Stretto under this Order shall be an administrative

expense of the Debtors’ estates.

       10.      Stretto may apply its advance to all prepetition invoices, which advance may be

replenished to the original advance amount, and thereafter, Stretto may hold its advance under the

Engagement Agreement during these chapter 11 cases as security for the payment of fees and

expenses incurred under the Engagement Agreement.

       11.      The Debtors shall indemnify the Indemnified Parties (as defined in the Engagement

Agreement) under the terms of the Engagement Agreement, paragraph 8, as modified pursuant to

this Order.

       12.      The Indemnified Parties shall not be entitled to indemnification, contribution, or

reimbursement pursuant to the Engagement Agreement for services other than the services

provided under the Engagement Agreement, unless such services and the indemnification,

contribution, or reimbursement therefor are approved by this Court.

       13.      Notwithstanding anything to the contrary in the Engagement Agreement, the

Debtors shall have no obligation to indemnify the Indemnified Parties, or provide contribution or

reimbursement to the Indemnified Parties, for any claim or expense that is either: (a) judicially

determined (the determination having become final) to have arisen solely from the Indemnified



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Parties’ gross negligence, willful misconduct, fraud, bad faith, self-dealing, or breach of fiduciary

duty (if any) as provided in this Order; (b) for a contractual dispute in which the Debtors allege

the breach of the Indemnified Parties’ contractual obligations if this Court determines that

indemnification, contribution, or reimbursement would not be permissible under applicable law;

or (c) of any type for which the Court determines that indemnification, contribution, or

reimbursement would not be permissible pursuant to In re Thermadyne Holdings Corp., 283 B.R.

749, 756 (B.A.P. 8th Cir. 2002); or (d) settled prior to a judicial determination under (a) or (b), but

determined by this Court, after notice and a hearing, to be a claim or expense for which the

Indemnified Parties should not receive indemnity, contribution, or reimbursement under the terms

of the Engagement Agreement as modified by this Order.

       14.      If, before the earlier of (a) the entry of an order confirming a chapter 11 plan in

these chapter 11 cases (that order having become a final order no longer subject to appeal), or

(b) the entry of an order closing these chapter 11 cases, the Indemnified Parties believe that they

are entitled to the payment of any amounts by the Debtors on account of the Debtors’

indemnification as set forth in paragraph 8 of the Engagement Agreement, contribution, and/or

reimbursement obligations under the Engagement Agreement (as modified by this Order),

including the advancement of defense costs, the Indemnified Parties must file an application

therefor in this Court, and the Debtors may not pay any such amounts to the Indemnified Parties

before the entry of an order by this Court approving the payment. If the Indemnified Parties seek

reimbursement from the Debtors for attorneys’ fees and expenses in connection with the payment

of an indemnity claim pursuant to paragraph 8 of the Engagement Agreement, the invoices and

supporting time records for the attorneys’ fees and expenses shall be included in the Indemnified

Parties’ own applications, both interim and final, but determined by this Court after notice and a



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hearing. This paragraph is intended only to specify the period of time under which the Court shall

have jurisdiction over any request for fees and expenses by the Indemnified Parties for

indemnification, contribution, or reimbursement, and not a provision limiting the duration of the

Debtors’ obligation to indemnify the Indemnified Parties. All parties in interest shall retain the

right to object to any demand by the Indemnified Parties for indemnification, contribution, or

reimbursement.

       15.      In the event Stretto is unable to provide the Services set out in this Order, Stretto

will immediately notify the Clerk and the Debtors’ attorney and, upon approval of this Court, cause

to have all original proofs of claim and computer information turned over to another claims and

noticing agent with the advice and consent of the Clerk and the Debtors’ attorney.

       16.      After entry of an order terminating Stretto’s services, upon the closing of these

cases, or for any other reason, Stretto shall be responsible for archiving all proofs of claim with

the Federal Archives Record Administration, if applicable, and shall be compensated by the

Debtors in connection therewith.

       17.      Stretto shall not cease providing claims processing services during the chapter 11

case(s) for any reason, including nonpayment, without an order of the Court.

       18.      In the event of any inconsistency between the Engagement Agreement, the

Application, and this Order, this Order shall govern.

       19.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       20.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.




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       21.      The Debtors and Stretto are authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Application.

       22.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




[Scott A. Underwood is directed to serve a copy of this Order on interested parties who do not

receive service by CM/ECF and file a proof of service within three days of entry of this order.]




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